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                       EXHIBIT
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                       EXHIBIT
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                       EXHIBIT
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                       EXHIBIT 30
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                       EXHIBIT 31
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